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                                        Colombo v. Youtube, LLC
                           United States District Court for the Northern District of California
                                     June 28, 2023, Decided; June 28, 2023, Filed
                                              Case No. 3:22-cv-06987-JD

Reporter
2023 U.S. Dist. LEXIS 111574 *
                                                              LLP, Chicago, IL, USA; Lauren Jeffers Tsuji, Susan D.
NATHAN COLOMBO, individually and on behalf of all
                                                              Fahringer, LEAD ATTORNEYS, Perkins Coie LLP,
others similarly situated, Plaintiff, v. YOUTUBE, LLC, et
                                                              Seattle, WA, USA; Nicola Carah Menaldo, LEAD
al., Defendants.
                                                              ATTORNEY, Perkins Coie, Seattle, WA, USA; Susan
                                                              Fahringer, LEAD ATTORNEY, Perkins Coie LLP -
Core Terms                                                    Seattle, Seattle, WA, USA; Sunita Bali, Perkins Coie
                                                              LLP, San Francisco, CA, USA.
biometric, identifier, video, collected, Thumbnail, faces,
Blur, scans, users, uploaded, dormant, private entity,        Judges: JAMES DONATO, United States District
extraterritorial, regulations, retention, geometry            Judge.

Counsel: [*1] For Brad Marschke, Individually and on          Opinion by: JAMES DONATO
behalf of all others similarly situated, Plaintiff: Aelish
Marie Baig, Jacob G. Gelman, Robbins Geller Rudman
& Dowd LLP, San Francisco, CA, USA; Alexander
                                                              Opinion
Charles Cohen, Stuart A. Davidson, PRO HAC VICE,
Stuart Andrew Davidson, Robbins Geller Rudman &
Dowd LLP, Boca Raton, FL, USA; Alexander Elliot Wolf,
                                                              ORDER RE MOTION TO DISMISS
John J. Nelson, Milberg Coleman Bryson Phillips
Grossman PLLC, San Diego, CA, USA; Gary Michael               Plaintiff Nathan Colombo sued defendants YouTube,
Klinger, PRO HAC VICE, Milberg Coleman Bryson                 LLC and Google LLC (collectively, YouTube) on behalf
Phillips Grossman PLLC, Chicago, IL, USA; Jonathan B.         of himself and a putative class of Illinois residents for
Cohen, Milberg Coleman Bryson Phillips Grossman,              violating the Illinois Biometric Information Privacy Act
PLLC, Knoxville, TN, USA.                                     (BIPA), 740 Ill. Comp. Stat. 14/1 et seq. 1 The operative
For Nathan Colombo, Plaintiff: Stuart Andrew Davidson,        second amended complaint (SAC) presents two claims
Robbins Geller Rudman & Dowd LLP, Boca Raton, FL,             alleging that YouTube violated Sections 15(a) and (b) of
USA.                                                          BIPA by collecting sensitive biometric identifiers and
                                                              biometric information through its "Face Blur" and
For Youtube LLC, Defendant: Lauren Jeffers Tsuji,             "Thumbnail Generator" video editing tools without first
Susan D. Fahringer, LEAD ATTORNEY, Perkins Coie
LLP, Seattle, WA, USA; Nicola Carah Menaldo, LEAD
ATTORNEY, Perkins Coie, Seattle, WA, USA; Susan               1 The  original named plaintiff was Brad Marschke. See Dkt.
Fahringer, LEAD ATTORNEY, Perkins Coie LLP -                  No. 1. After the briefing on this motion to dismiss was
Seattle, Seattle, WA, USA; Calvin W. Cohen, Kathleen          completed, Marschke asked to substitute Colombo as the
A. Stetsko, Perkins Coie LLP, Chicago, IL, USA; Sunita        named plaintiff, and the parties jointly requested that the Court
Bali, Perkins Coie LLP, San Francisco, CA, USA.               deem "Nathan Colombo" to replace "Brad Marschke" in the
                                                              briefing. Dkt. No. 82. The Court granted the requests, Dkt. No.
For Google LLC, Defendant: Calvin W. Cohen, LEAD              83, and Colombo filed a second amended class action
ATTORNEY, Kathleen A. Stetsko, [*2] Perkins Coie              complaint. The caption has been amended accordingly.
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obtaining the necessary informed written consent or           inform the discussion here.2 In pertinent part, BIPA was
providing data retention and destruction policies to          enacted in 2008 and "manifests Illinois' substantial
consumers. See Dkt. No. 84 ¶¶ 99-110.                         policy of protecting its citizens' right to privacy in their
                                                              personal biometric data." In re Facebook Biometric Info.
YouTube has asked to dismiss the complaint under              Privacy Litig., 185 F. Supp. 3d 1155, 1169 (N.D. Cal.
Federal Rule of Civil Procedure 12(b)(6) for failure to       2016). "BIPA regulates the collection, retention, and
state a claim. Dkt. No. 60. The motion is denied.             disclosure of personal biometric identifiers and biometric
                                                              information by '[m]ajor national corporations,' among
                                                              others." Id. at 1171 (citing 740 Ill. Comp. Stat. 14/5(b),
BACKGROUND                                                    (g) [*5] ). As BIPA requires:
                                                                   (a) A private entity in possession of biometric
Launched in 2012, YouTube's "Face Blur" tool uses
                                                                   identifiers or biometric information must develop a
facial recognition technology to enable [*3] its users,
                                                                   written policy, made available to the public,
who create videos, to "'select the faces' in the user's
                                                                   establishing a retention schedule and guidelines for
particular video that they would 'like to blur,' which when
                                                                   permanently destroying biometric identifiers and
applied and saved, will result in those faces appearing
                                                                   biometric information when the initial purpose for
blurry and ostensibly unrecognizable to any viewer of
                                                                   collecting or obtaining such identifiers or
the video." Dkt. No. 84 ¶¶ 12, 49-50. According to the
                                                                   information has been satisfied or within 3 years of
complaint, when the tool is deployed, YouTube "scan[s]
                                                                   the individual's last interaction with the private
the entire video to detect all unique faces within the
                                                                   entity, whichever occurs first. Absent a valid
video." Id. ¶ 52. Through this process, YouTube
                                                                   warrant or subpoena issued by a court of
captures and stores scans of face geometry from all
                                                                   competent jurisdiction, a private entity in
detected faces, creating a unique "faceId" for each. Id. ¶
                                                                   possession of biometric identifiers or biometric
55. The video creator can then "select which faces the
                                                                   information must comply with its established
creator would like to blur out in the video." Id. ¶ 53.
                                                                   retention schedule and destruction guidelines.
"[W]hen the 'Face Blur' tool is run multiple times on the
                                                                   (b) No private entity may collect, capture, purchase,
same video, the previously stored result is provided to
                                                                   receive through trade, or otherwise obtain a
the user without actually rerunning the tool again," even
                                                                   person's or a customer's biometric identifier or
weeks after the initial run. Id. ¶ 58. Colombo alleges that
                                                                   biometric information, unless it first:
YouTube permanently stores the scans of face
                                                                   (1) informs the subject or the subject's legally
geometry and does not disclose that they are collected
                                                                   authorized representative in writing that a biometric
and stored. See id. ¶¶ 59-60.
                                                                   identifier or biometric information is being collected
The "Thumbnail Generator" is "a feature that at first              or stored;
auto-generates photographic thumbnails (screenshots
                                                                        (2) informs the subject or the subject's legally
from an uploaded video) and allows creators to choose
                                                                        authorized representative in writing of the
their own [*4] thumbnails for their videos." Id. ¶ 64.
                                                                        specific purpose [*6] and length of term for
Colombo says that "[i]t is common knowledge that
                                                                        which a biometric identifier or biometric
thumbnails with faces, especially faces with more
                                                                        information is being collected, stored, and
expression, generate more clicks and views." Id. ¶ 65.
                                                                        used; and
YouTube is said to capitalize on this by scanning all
                                                                        (3) receives a written release executed by the
videos for faces at the time they are uploaded and then
using "this face data to auto-generate thumbnails that
contain faces." Id. ¶ 66. Through this process, YouTube
"scan[s], detect[s], and collect[s] facial geometry within    2 See In re Facebook Biometric Info. Privacy Litig., 326 F.R.D.
each YouTube video, including videos uploaded within          535 (N.D. Cal. 2018), aff'd sub nom. Patel v. Facebook, Inc.,
Illinois, and then stor[es] the metadata associated with      932 F.3d 1264 (9th Cir. 2019); Patel v. Facebook Inc., 290 F.
the videos." Id. ¶ 71.                                        Supp. 3d 948 (N.D. Cal. 2018); In re Facebook Biometric Info.
                                                              Privacy Litig., No. 15-cv-03747-JD, 2018 U.S. Dist. LEXIS
Colombo's claims arise under BIPA. The Court has              81044, 2018 WL 2197546 (N.D. Cal. May 14, 2018); Zellmer
substantial familiarity with BIPA from In re Facebook         v. Facebook, Inc., No. 18-cv-01880-JD, 2022 U.S. Dist. LEXIS
Biometric Information Privacy Litigation and Zellmer v.       60239, 2022 WL 976981 (N.D. Cal. Mar. 31, 2022); Zellmer v.
Facebook, and has filed several detailed decisions that       Facebook, Inc., No. 18-cv-01880-JD, 2022 U.S. Dist. LEXIS
                                                              206475, 2022 WL 16924098 (N.D. Cal. Nov. 14, 2022).

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          subject of the biometric identifier or biometric           YouTube's view, biometric identifiers must identify a
          information or the subject's legally authorized            person and biometric information must actually be used
          representative.                                            to identify a person. See id. at 5-6. YouTube says that
                                                                     Colombo "does not allege a single fact that would
740 Ill. Comp. Stat. 14/15. BIPA provides a private right            plausibly lead" to the conclusion that the data it collects
of action to "[a]ny person aggrieved by a violation of" the          can be used to identify the individuals in the uploaded
statute. 740 Ill. Comp. Stat. 14/20.                                 videos. Id. at 8.

                                                                     The point is not well taken. BIPA defines "'biometric
LEGAL STANDARDS                                                      identifier' as 'a retina or iris scan, fingerprint, voiceprint,
                                                                     or scan of hand or face geometry.'" In re Facebook, 185
The standards governing a Rule 12(b)(6) motion to                    F. Supp. 3d at 1171 (quoting 740 Ill. Comp. Stat. 14/10).
dismiss are straightforward. See McLellan v. Fitbit, Inc.,           "'When a statute includes an explicit definition, we must
No. 16-cv-00036-JD, 2018 U.S. Dist. LEXIS 94685,                     follow that definition,' even if it varies from a term's
2018 WL 2688781, at *1 (N.D. Cal. June 5, 2018);                     ordinary meaning." Digital Realty Tr., Inc. v. Somers,
Jefferson v. Healthline Media, Inc., No. 22-cv-05059-JD,             138 S. Ct. 767, 776, 200 L. Ed. 2d 15 (2018) (quoting
2023 U.S. Dist. LEXIS 91174, 2023 WL 3668522, at *1                  Burgess v. United States, 553 U.S. 124, 130, 128 S. Ct.
(N.D. Cal. May 24, 2023). Rule 8(a)(2) requires that a               1572, 170 L. Ed. 2d 478 (2008)); see also People v.
complaint make "a short and plain statement of the                   Fiveash, 2015 IL 117669, 396 Ill. Dec. 98, 39 N.E.3d
claim showing that the pleader is entitled to relief." Fed.          924, 928 (Ill. 2015) ("When a term is defined within a
R. Civ. P. 8(a)(2). To meet that rule and survive a Rule             statute, that term must be construed by applying the
12(b)(6) motion to dismiss, a plaintiff must allege                  statutory definition provided by the legislature."). The
"enough facts to state a claim to relief that is plausible           operative complaint plausibly alleges that YouTube's
on its face." Bell Atl. Corp. v. Twombly, 550 U.S. 544,              Face Blur and Thumbnail Generator tools capture and
570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). "A claim             store scans of face geometry, see Dkt. No. 84 ¶¶ 55, 59,
has facial plausibility when the plaintiff pleads factual            71, and YouTube does not demonstrate otherwise, see
content that allows the court to draw the reasonable                 generally [*8] Dkt. Nos. 60, 79.
inference that the defendant is liable for the misconduct
alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.           YouTube's request to ignore the definition of "biometric
1937, 173 L. Ed. 2d 868 (2009). Determining whether a                identifier" supplied by the Illinois legislature in favor of a
complaint states a plausible claim for relief is a "context-         single-minded focus on the word "identifier" is
specific task that requires the reviewing court to draw on           misdirected. YouTube says that a biometric identifier
its judicial experience and common sense." Id. at 679.               "must consist of, or at least link to, identity information
                                                                     (e.g., name, email address)," Dkt. No. 60 at 5, and that
                                                                     "reading the identification requirement out of 'biometric
DISCUSSION                                                           identifier' as [Colombo] urges would violate well-
                                                                     established canons of statutory construction that prohibit
                                                                     interpreting a statute in a way that would render portions
I. BIOMETRIC IDENTIFIERS AND BIOMETRIC                               of it superfluous," Dkt. No. 79 at 2. In YouTube's view,
INFORMATION                                                          "[h]ad the Illinois General Assembly intended BIPA to
                                                                     apply to data whether or not it is in fact used to identify
YouTube's kickoff objection is that Colombo has not                  anyone, it easily could have omitted the reference to
plausibly alleged that the data collected from the [*7]              'identifiers' altogether -- for example, by using
Face Blur and Thumbnail Generator tools qualify as                   terminology such as 'biometric data,' 'biometric input,' or
"biometric identifiers" or "biometric information" within
the meaning of BIPA.3 See Dkt. No. 60 at 4. In
                                                                     subject of judicial notice."); Shaw v. Ocwen Loan Servicing,
                                                                     LLC, No. 15-cv-01755-JD, 2016 U.S. Dist. LEXIS 167720,
                                                                     2016 WL 7048979, at *2 (N.D. Cal. Dec. 5, 2016)
3 YouTube's   request for judicial notice, Dkt. No. 61, is granted   (incorporation by reference). The request is denied with
with respect to Exhibits A and B, which are incorporated by          respect to Exhibit D, a news article about one company's pre-
reference in the complaint, and Exhibit C, consisting of             BIPA collection and retention of biometric information, as it is
legislative history. See Anderson v. Holder, 673 F.3d 1089,          not relevant to the resolution of this motion. See Ruiz v. City of
1094 n.1 (9th Cir. 2012) ("Legislative history is properly a         Santa Maria, 160 F.3d 543, 548 n.13 (9th Cir. 1998).

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simply 'biometrics.'" Id. at 2-3. But the Illinois legislature   The Court rejected a similar argument at the class
was perfectly free to define "biometric identifier" in a         certification stage in In re Facebook, and YouTube has
specific manner that is not tethered to the plain meaning        cited no intervening authority that would counsel in favor
of the word "identifier" alone. See, e.g., Tanzin v. Tanvir,     of a different outcome here. See In re Facebook
141 S. Ct. 486, 490, 208 L. Ed. 2d 295 (2020) ("[I]f a           Biometric Info. Privacy Litig., 326 F.R.D. 535, 547-48
statute defines a 'State' to include territories and [*9]        (N.D. Cal. 2018). Colombo is an Illinois resident who
districts, that addition to the plain meaning controls.").       has uploaded multiple videos to YouTube from within
Nothing in the canons of statutory interpretation                Illinois. See Dkt. No. 84 ¶ 22. His claims are based on
warrants a different conclusion.                                 the application of Illinois law to use of YouTube in
                                                                 Illinois. The provision of access and services to
YouTube's suggestion that applying BIPA to the Face              Colombo and [*11] other Illinois users constitutes in-
Blur and Thumbnail Generator tools would conflict with           state activity by YouTube. See Vance v. Microsoft
the statute's intent, see Dkt. No. 60 at 8, is also              Corp., No. 20-cv-01082-JLR, 2022 U.S. Dist. LEXIS
unavailing. YouTube says "it would be impossible to              189250, 2022 WL 9983979, at *7 (W.D. Wash. Oct. 17,
locate and secure consent from everyone -- users and             2022) (discussing In re Facebook and observing that
non-users alike --whose face appears in a video on               "Facebook reached into Illinois by providing its service
YouTube," and that Colombo's "interpretation of BIPA             to the plaintiffs, and the plaintiffs' direct interactions with
would effectively ban privacy-protective features like           Facebook gave rise to the alleged BIPA violations").
face blurring, an absurd result that the Illinois General        While YouTube's headquarters and data servers may be
Assembly cannot possibly have intended." Id. at 8-9. But         elsewhere, that is not dispositive. "Making the
the named plaintiff whose claims are subject to this             geographic coordinates of a server the most important
motion is a YouTube user who "has uploaded multiple              circumstance in fixing the location of an Internet
videos to his YouTube account that include images of             company's conduct would yield . . . questionable results"
his face." Dkt. No. 84 ¶ 83. Whether the putative class          and "effectively gut the ability of states without server
might properly include non-users whose faces appear in           sites to apply their consumer protection laws to
YouTube videos is a matter better suited to class                residents for online activity that occurred substantially
certification proceedings. See Milan v. Clif Bar & Co.,          within their borders." In re Facebook, 326 F.R.D. at 548.
489 F. Supp. 3d 1004, 1008 (N.D. Cal. 2020).
                                                                 YouTube's dormant Commerce Clause theory fares no
                                                                 better. The Supreme Court "has held that the
II. EXTRATERRITORIALITY AND DORMANT                              Commerce Clause not only vests Congress with the
COMMERCE CLAUSE                                                  power to regulate interstate trade; the Clause also
                                                                 'contain[s] a further, negative command,' one effectively
YouTube says that Colombo's claims would require an              forbidding the enforcement of certain state [economic
impermissible extraterritorial application of BIPA and           regulations] even when Congress has failed to legislate
that his interpretation [*10] of the statute would run           on the subject.'" Nat'l Pork Producers Council v. Ross,
afoul of the dormant Commerce Clause. See Dkt. No.               143 S. Ct. 1142, 1152, 215 L. Ed. 2d 336 (2023)
60 at 9-10. Neither argument is persuasive.                      (alterations in original) (quoting Okla. Tax Comm'n v.
                                                                 Jefferson Lines, Inc., 514 U.S. 175, 179, 115 S. Ct.
With respect to extraterritoriality, the parties agree that
                                                                 1331, 131 L. Ed. 2d 261 (1995)). The dormant
BIPA does not have extraterritorial reach because no
                                                                 Commerce Clause "typically applies when a state tries
"clear intent in this respect appears from the express
                                                                 to regulate or control [*12] economic conduct wholly
provisions of the statute." Avery v. State Farm Mut.
                                                                 outside its borders with the goal of protecting local
Auto. Ins. Co., 216 Ill. 2d 100, 835 N.E.2d 801, 852, 296
                                                                 businesses from out-of-state competition." In re
Ill. Dec. 448 (Ill. 2005) (internal quotations and citation
                                                                 Facebook Biometric Info. Privacy Litig., No. 15-cv-
omitted); see Dkt. No. 60 at 10; Dkt. No. 71 at 8. The
                                                                 03747-JD, 2018 U.S. Dist. LEXIS 81044, 2018 WL
salient inquiry is whether "the circumstances that relate
                                                                 2197546, at *4 (N.D. Cal. May 14, 2018) (citing Healy v.
to the disputed transaction occur[red] primarily and
                                                                 Beer Inst., Inc., 491 U.S. 324, 336-37, 109 S. Ct. 2491,
substantially in Illinois." Avery, 835 N.E.2d at 854. The
                                                                 105 L. Ed. 2d 275 (1989)). It is a "limitation upon the
thrust of YouTube's extraterritoriality argument is that
                                                                 power of the States" intended to prohibit "discrimination
Colombo does not allege that YouTube engaged in any
                                                                 against interstate commerce" and "state regulations that
relevant conduct in Illinois, such as maintaining servers
                                                                 unduly burden interstate commerce." Sam Francis
in the state. See Dkt. No. 60 at 11-12.

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Found. v. Christies, Inc., 784 F.3d 1320, 1323 (9th Cir.     the pleadings stage, this is enough to move forward.
2015) (en banc) (internal quotations and citations           While "'the duty to disclose' [*14] a written policy under
omitted).                                                    Section 15(a) 'is owed to the public generally, not to
                                                             particular persons whose biometric information the
YouTube again urges a point rejected in In re Facebook,      entity collects,'" Zellmer v. Facebook, Inc., No. 18-cv-
and has not said why a different outcome might be            01880-JD, 2022 U.S. Dist. LEXIS 206475, 2022 WL
appropriate in this case. "[T]he application of BIPA to      16924098, at *3 (N.D. Cal. Nov. 14, 2022) (quoting
Illinois users does not have the impermissible '"practical   Bryant v. Compass Grp. USA, Inc., 958 F.3d 617, 626
effect" of regulating commerce occurring wholly outside'     (7th Cir. 2020)), Colombo plausibly alleges that his
Illinois." In re Facebook, 2018 U.S. Dist. LEXIS 81044,      privacy interests have been directly affected by
2018 WL 2197546, at *4 (quoting Healy, 491 U.S. at           YouTube's conduct in not complying with a data-
332). As discussed above, YouTube's allegedly BIPA-          retention policy in handling his data.
violating conduct "cannot be understood to have
occurred wholly outside Illinois, and the same rather        IT IS SO ORDERED.
metaphysical arguments about where BIPA was violated
                                                             Dated: June 28, 2023
fare no better when re-packaged under" the dormant
Commerce Clause. Id. YouTube suggests that this case         /s/ James Donato
is "indistinguishable" from Christies, Dkt. No. 79 at 8,
where the Ninth Circuit held that a provision of a           JAMES DONATO
California law that regulated sales of fine art conducted
entirely outside of the state violated the dormant           United States District Judge
Commerce Clause, see Christies, 784 F.3d at 1323-25.
Not so. This case [*13] arises from an Illinois resident's
interactions with YouTube from within his home state           End of Document
and consequently "is deeply rooted in BIPA's native soil
of Illinois." In re Facebook, 2018 U.S. Dist. LEXIS
81044, 2018 WL 2197546, at *4.


III. THE SECTION 15(a) CLAIM

YouTube's closing argument is that the Section 15(a)
claim should be dismissed because Colombo "has not
pleaded facts establishing that he is 'aggrieved' by
[YouTube's] alleged violation of that section," Dkt. No.
60 at 14, as is required to bring a claim under BIPA.
Section 15(a) provides, in pertinent part, that a "private
entity in possession of biometric identifiers or biometric
information must develop a written policy, made
available to the public, establishing a retention schedule
and guidelines for permanently destroying biometric
identifiers and biometric information." 740 Ill. Comp.
Stat. 14/15(a). Under Illinois law, "a party is aggrieved
by an act that directly or immediately affects her legal
interest." In re Facebook, 326 F.R.D. at 546 (citing Am.
Sur. Co. v. Jones, 384 Ill. 222, 51 N.E.2d 122 (Ill.
1943)).

Colombo says that YouTube "failed to develop or
implement a BIPA-compliant data collection policy," and
"therefore failed to comply with any BIPA-compliant
policy in [its] handling of [his] personally identifying
information." Dkt. No. 84 ¶ 86 (emphases omitted). At

                                                                                                        Page 5 of 5
